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                                        UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF CALIFORNIA


             JAY WISE,                                               CASE No C 5:23-cv-04232-BLF


                                             Plaintiff(s)
                                                                     ADR CERTIFICATION BY
              v.
                                                                     PARTIES AND COUNSEL
              CUPERTINO ELECTRIC, INC.,
                                             Defendant(s)

            Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
            she has:

                   1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
                      (available at cand.uscourts.gov/adr).
                   2) Discussed with each other the available dispute resolution options provided by the Court
                      and private entities; and
                   3) Considered whether this case might benefit from any of the available dispute resolution
                      options.
              Date: 11/8/2023
                                                                                            Party
              Date: 11/8/2023
                                                                                          Attorney

            Counsel further certifies that he or she has discussed the selection of an ADR process with
            counsel for the other parties to the case. Based on that discussion, the parties:
                    intend to stipulate to an ADR process
                   
                   X prefer to discuss ADR selection with the Assigned Judge at the case management
                     conference


                    Date: 11/8/2023
                                                                                          Attorney




               Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
               Options.”



              Form ADR-Cert rev. 1-15-2019
